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                  Telephone:    (415) 398-8080
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                  COMMERCE
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             8                                 UNITED STATES BANKRUPTCY COURT

             9                                 NORTHERN DISTRICT OF CALIFORNIA

             10                                             (SAN FRANCISCO)
             11   In re                                                 CASE NO.       08-31001-TEC

             12   BDB MANAGEMENT LLC                                    Chapter 11

             13
                                       Debtor.
             14

             15

             16                            REQUEST FOR SPECIAL NOTICE
                                  AND REQUEST TO BE ADDED TO MASTER MAILING LIST
             17                  BY INTERESTED PARTY HERITAGE BANK OF COMMERCE
             18

             19                  The undersigned, attorneys for Interested Party Heritage Bank of Commerce

             20   ("Heritage Bank"), hereby request notice of all hearings, or trial dates, motions and notices of

             21   motions, applications, disclosure statements, plans of reorganization, applications for compromise,

             22   applications to abandon properties, applications for approval to sell property of the estate or to pay

             23   expenses or claims, copies of monthly operating reports, copies of statements of deposits, and

             24   returns of sale of real or personal property for Court approval, whether such notice, application, or

             25   the like is sent by the Court, the debtor, or any other party-in-interest in this case, and request that

             26   all notices, applications, or the like be sent to the address below, and that such address be added to

             27   the Court's master mailing list:

             28
PRINTED ON
             29
RECYCLED PAPER
                  749885v1
                                                                     -1-      REQUEST FOR NOTICE CASE NO. 08-31001

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             1                             Heritage Bank of Commerce
                                           c/o Nicolas De Lancie
             2                             Jeffer, Mangels, Butler, & Marmaro LLP
                                           Two Embarcadero Center, 5th Floor
             3                             San Francisco, CA 94111-3824

             4                             Heritage Bank of Commerce
                                           c/o Richard A. Rogan, Esq.
             5                             Jeffer, Mangels, Butler, & Marmaro LLP
                                           Two Embarcadero Center, 5th Floor
             6                             San Francisco, CA 94111-3824

             7                   THIS ENTRY OF APPEARANCE AND REQUEST FOR NOTICE is without
             8    prejudice to the Heritage Bank's rights, remedies and claims against other entities or any objection

             9    that may be made to the jurisdiction or venue of the Court or venue of this case, and shall not be

             10   deemed or construed to be a waiver of Heritage Bank's rights (1) to have final orders in noncore
             11   matters entered only after de novo review by a District Judge, (2) to trial by jury in any proceeding

             12   so triable in this case or any case, controversy, or proceeding related to this case, (3) to have the

             13   District Court withdraw the reference in any matter subject to mandatory or discretionary
             14   withdrawal, or (4) any other rights, claims, actions, setoffs, or recoupments to which Heritage Bank

             15   is or may be entitled, in law or in equity, all of which rights, claims, actions, defenses, setoffs, and

             16   recoupments Heritage Bank hereby expressly reserves.
             17   DATED: July 7, 2008                           JEFFER, MANGELS, BUTLER & MARMARO LLP
                                                                RICHARD A. ROGAN
             18                                                 NICOLAS DE LANCIE

             19
             20                                                 By: /s/ Nicolas De Lancie
                                                                                  NICOLAS DE LANCIE
             21                                                 Attorneys for Interested Party HERITAGE BANK OF
                                                                COMMERCE
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